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Walmart Inc. and Jetson Electric Bikes, LLC

                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF WYOMING

STEPHANIE WADSWORTH                             )
Individually and as Parent and Legal Guardian   )
of W.W., K.W., G.W., and L.W., minor children   )
and MATTHEW WADSWORTH,                          )    Case No. 2:23-cv-00118-KHR
                                                )
       Plaintiffs,                              )    DEFENDANTS JETSON
                                                )    ELECTRIC BIKES, LLC AND
v.                                              )    WALMART INC.’S RESPONSE
                                                )    IN OPPOSITION TO
WALMART INC. and                                )    PLAINTIFFS’ MOTIONS IN
JETSON ELECTRIC BIKES, LLC,                     )    LIMINE
                                                )
       Defendants.                              )
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       WALMART INC. (“Walmart”) and JETSON ELECTRIC BIKES, LLC (“Jetson”),

(collectively “Defendants”), by and through their attorneys, Crowley Fleck PLLP and McCoy

Leavitt Laskey LLC, hereby submit their response in opposition to Plaintiffs’ Motions in Limine.

                                        INTRODUCTION

       Plaintiffs cited nine supposed cases to support their various motions in limine. (Doc. 141).

Eight of the nine cases are allegedly United States District Court decisions with seven of the eight

supposedly emanating from the United States District Court for the District of Wyoming. The

eighth district court case Plaintiffs cite is supposedly from the United States District Court for the

Southern District of New York. All of the United States District Court decisions are cited only

with a Westlaw citation and no pin cites or specific dates of decisions are provided. For the Court’s

convenience, all nine cases are listed below:

          Wyoming v. U.S. Department of Energy, 2006 WL 3801910 (D. Wyo. 2006);
          Holland v. Keller, 2018 WL 2446162 (D. Wyo. 2018);
          United States v. Hargrove, 2019 WL 2516279 (D. Wyo. 2019);
          Meyer v. City of Cheyenne, 2017 WL 3461055 (D. Wyo. 2017);
          Benson v. State of Wyoming, 2010 WL 4683851 (D. Wyo. 2010);
          Smith v. United States, 2011 WL 2160468 (D. Wyo. 2011);
          States v. Hargrove, 2019 WL 2516279 (D. Wyo. 2019);
          Woods v. BNSF Railway Co., 2016 WL 165971 (D. Wyo. 2016);
          Fitzgerald v. City of New York, 2018 WL 3037217 (S.D.N.Y. 2018); and
          U.S. v. Caraway, 534 F.3d 1290 (10th Cir. 2008).

The only case cited correctly was U.S v. Caraway, 534 F.3d 1290, 1301 (10th Cir. 2008).

Incidentally, this was the only cited case that also included a pinpoint citation.

       For each of the alleged United States District Court decisions referenced above, none of

their corresponding Westlaw citations are accurate, nor could Defendants identify these cases on

Westlaw by their cited case names and venue designations. Defendants took further steps to try

and identify these cases through LexisNexis, PACER and Google. Defendants, however, still could

not identify the improperly cited cases through any of these additional search methods.

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        It is unknown as to how Plaintiffs identified these supposed cases, but at least some of these

mis-cited cases can be found on ChatGPT. Below is an example:




        Despite being identified by ChatGPT as shown above, the Meyer v. City of Cheyenne case,

for example, cannot be found through any of the traditional legal research websites. With the

exception of the U.S. v. Caraway case, Plaintiffs’ cited cases seemingly do not exist anywhere

other than in the world of Artificial Intelligence.1 As such, this Court should wholly disregard these



1
  The use of Artificial Intelligence for legal research and briefing through such outlets as ChatGPT was the topic of
the highly publicized case Mata v. Avianca, Inc., 678 F. Supp. 3d 443 (S.D.N.Y. 2023). The offending party was
sanctioned in the Mata case. See also United States v. Hayes, --F. Supp. 3d--, 2025 WL 235531, No. 2:24-cr-0280-
DJC (E.D. Cal. Jan. 17, 2025) (noting the harms caused by use of fictitious or hallucinated authorities in the legal
system and sanctioning counsel).

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cases, deny Plaintiff’s motions in limine and issue any further relief or actions that it deems

appropriate.

                                                    ARGUMENT

I.         RESPONSE TO PLAINTIFFS’ MIL #1: Plaintiffs have Testified that the Shed was
           Used Only for Smoking.

           Plaintiffs cite to a case – Meyer v. City of Cheyenne, 2017 WL 3461055 (D. Wyo. 2017) –

in support of this motion that cannot be found on Westlaw or the other legal search engines

Defendants consulted.

           Nonetheless, Defendants agree that the term “smoking shed” has been used throughout this

litigation, but such a term is accurate as to how the Wadsworths used this shed. Specifically, Mrs.

Wadsworth testified:

           Q.       So when you were home and you would smoke, you would use the smoking
                    shed in the winter.
           A.       Yes.
           Q.       Okay. Was the smoking shed used for anything else other than smoking?
           A.       No.

(LaFlamme Dec. ¶3, Ex. 1: S. Wadsworth Dep. 71:7-12). While the shed was not manufactured or

initially sold to be a smoking shed, that is how it was exclusively used by Mr. and Mrs. Wadsworth.

           This motion in limine is nothing more than an effort by Plaintiffs to minimize the fact that

Mrs. Wadsworth smoked cigarettes in the smoking shed before she went to bed in the evening and

early morning hours before the fire. Plaintiffs argue that Mr. and Mrs. Wadsworth “only used the

shed from time [to time]2 to smoke and shield themselves from the harsh weather…” As Mrs.

Wadsworth testified, however, this shed was used by Mr. and Mrs. Wadsworth to only smoke

cigarettes in the winter months. They did not use the shed for any other purpose. As such, the term




2
    It is presumed that Plaintiffs intended to say from “time to time” or “sometimes” in this quoted portion.

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smoking shed is merely a descriptive and accurate term to identify how Mr. and Mrs. Wadsworth

used this shed. The phrase is not inflammatory or misleading to the jury.

       Moreover, Plaintiffs have even used the term “smoking shed” in this litigation. Following

Mr. and Mrs. Wadsworth’s depositions, Defendants requested any photographs Plaintiffs may

have that show the shed’s interior. Plaintiffs produced those photos in a fileshare link that

Plaintiffs’ titled “Smoking Shed pictures_S. Wadsworth.” (LaFlamme Dec. ¶4, Ex. 2).

       Finally, the fact that Mr. and Mrs. Wadsworth smoked in the shed is highly relevant to the

case – especially with respect to the fact Mrs. Wadsworth admitted to smoking in the shed a couple

of hours before the fire. (LaFlamme Dec. ¶3, Ex. 1: S. Wadsworth Dep. 87:6-90:8). Defense

experts have concluded that the fire originated at the smoking shed from a cigarette and then spread

to the house. (Doc. 80-1, Filas Report). As such, Defendants should be permitted to use the term

smoking shed during trial to describe a shed that Plaintiffs used exclusively for smoking cigarettes.

II.    RESPONSE TO PLAINTIFFS’ MIL #2: Defendants’ Expert Conclusion that this
       Fire Likely Started Due to an Improperly Discarded Cigarette is Admissible.

       In support of this motion, Plaintiffs cite a case – Benson v. State of Wyoming, 2010 WL

4683851 (D. Wyo. 2010) – that is not on Westlaw or the other legal search engines Defendants

consulted. The Westlaw citation provided by Plaintiffs is for Quilter v. Holder, 401 Fed. App’x.

985 (5th Cir. 2010), which is a one paragraph decision that relates to an immigration case brought

by a citizen of Belize. The only Wyoming case with a similar case name that could be identified

on Westlaw was the Benson v. State, 571 P.2d 595, 601 (Wyo. 1977) case. This case, however,

addresses a dispute over which jury instructions should have been given to the jury and whether a

telephone conference that involved the defendant was admissible. Neither of these issues relate to

the instant motion in limine.




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          Nonetheless, with this motion in limine, Plaintiffs seek to bar Joe Filas’ fire origin and

cause opinion that “the probable cause of the fire was the ignition of combustible materials from

heat generated by the smoldering coal of an improperly discarded cigarette that ignited adjacent

combustible material.” (Doc. 80-1, pg. 6). This is, in essence, a duplication of Plaintiffs’ Rule 702

Daubert motion against Filas.

          As referenced in Defendants’ response to Plaintiffs’ Rule 702 Daubert motion against

Filas, his conclusion that the fire originated at the smoking shed due to an improperly discarded

cigarette flowed from his reliable scientific methodology and the facts at issue. Heller v. Shaw

Industries, Inc., 167 F.3d 146, 152 (3rd Cir. 1999) (holding that an expert opinion is admissible if

it is based on reliable methodology and reasonably flowed from that methodology and the facts at

issue).

          Plaintiffs similarly seem to seek to prevent defense expert Greg Gorbett from also

discussing Filas’ opinion that a smoldering cigarette scenario caused this fire. While Gorbett is not

offering any cause opinions in this case, he is able to comment on the opinions offered by other

experts.

          Further, Plaintiffs contend that there is no evidence that a cigarette was improperly

discarded. That is not true. Mrs. Wadsworth testified that she smoked in the smoking shed hours

before the fire. (LaFlamme Dec. ¶3, Ex. 1: S. Wadsworth Dep. 87:6-90:8). Further, the Wadsworth

children also stated on body camera footage immediately after the fire that the fire started by the

shed and that the fire was outside by the shed. (LaFlamme Dec. ¶5, Ex. 3: S. Schulz Dep. 51:7-

53:6; 95:18-24; see also Doc. 80-1, pg. 23-29). Moreover, fire investigation studies have shown

that a cigarette can smolder for “several hours” before it turns into flames. (Doc. 80-4, pg. 14).




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       Also, even Plaintiffs’ origin expert, Michael Schulz, concedes that the careless disposal of

smoking material (i.e., cigarettes) can cause a smoldering fire that does not materialize into active

flames for a number of hours. (LaFlamme Dec. ¶5, Ex. 3: Schulz Dep. 136:9-137:13). Moreover,

Schulz also conceded that it would not concern him if a specific cigarette that was carelessly

disposed of could not be identified when asked to assume that the fire started at the smoking shed

due to careless use of smoking materials. (LaFlamme Dec. ¶5, Ex. 3: Schulz Dep. 204:16-205:16).

This is because a cigarette can be consumed by the very fire that it starts. Further, Schulz

acknowledged that:

        I do not believe, based on experience all these years, [] when somebody says,
       “Well, I always put my cigarette out and I know it was out,” I don't ever rely on
       that. That may be what they believe that they did. It may or may not be the truth.

(LaFlamme Dec. ¶5, Ex. 3: Schulz Dep. 207:8-13). Plaintiffs argue that there is no evidence to

support Defendants’ theory because the causal cigarette could not be specifically identified in the

fire debris and Mrs. Wadsworth contends that she properly disposed of her cigarettes when she

smoked in the shed the evening and morning before the fire. Despite that argument, Plaintiffs’ own

expert acknowledges that testimony about a witness’ supposed proper cigarette disposal is not

always accurate – particularly in this case where Mrs. Wadsworth testified she had 10 drinks prior

to smoking her last cigarette that evening. Further, it is not unusual, nor would it be surprising, for

a cigarette to get consumed in this fire.

       Additionally, Gorbett’s computer models specifically show that this fire could not have

originated in G.W. and L.W.’s bedroom, but it could have originated at the smoking shed.

(LaFlamme Dec. ¶6, Ex. 4: Gorbett Dep. 135:16-19; 194:1-14). Again, this supports the conclusion

that the fire was caused by the careless disposal of smoking materials in the smoking shed.




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        All of the above supports the admissibility of Filas’ expert opinion. While Plaintiffs may

dispute that opinion, that does not make it inadmissible. Defendants further rely on and incorporate

herein Defendants’ responses to Plaintiffs’ Rule 702 Daubert motions filed against Gorbett and

Filas. (Doc. 115 and 117).

III.    RESPONSE TO PLAINTIFFS’ MIL #3: Evidence of Stephanie Wadsworth’s Alcohol
        Use is Relevant.

        As with the prior two motions in limine, the case cited in support of this motion – Smith v.

United States, 2011 WL 2160468 (D. Wyo. 2011) also was not located on Westlaw or the other

legal search engines Defendants consulted. The Westlaw citation provided is from what appears

to be a foreign case – possibly Australia. In searching for any cases titled Smith v. United States

(or some similar variation) from the United States District Court for the District of Wyoming,

Defendants were not able to identify a case with that case name that discusses the admissibility of

evidence related to alcohol use in a similar context.

        Regardless, this motion in limine should be denied as Mrs. Wadsworth’s alcohol use –

especially in the evening and early morning hours before the fire – is highly relevant. While Mrs.

Wadsworth testified that she doesn’t specifically remember how many drinks she had the

evening/morning before the fire, she did state that it was a typical alcohol consumption day for

her, which was “somewhere around ten or so” drinks. (LaFlamme Dec. ¶3, Ex. 1: S. Wadsworth

Dep. 62:24-64:7, 90:9-91:24).

        The admissibility of alcohol consumption by a plaintiff was recently discussed in Boyer v.

Price, 2021 WL 5759300, at *2 (E.D. Okla. Dec. 3, 2021). Plaintiff in Boyer was a passenger on

a boat that was operating at night without lights and was involved in an accident. Id. at *1-2.

Despite any evidence that the Boyer plaintiff actively caused or contributed to the accident, the

Boyer defendant argued that plaintiff’s alcohol consumption was relevant to plaintiff’s credibility

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and that alcohol may have impaired his perception or recollection of events. Id. at *2. The Boyer

defendant further argued that such evidence is important to allow the jury to evaluate and weigh

plaintiff’s testimony. Id. The Boyer court agreed and ruled that evidence of plaintiff’s alcohol

consumption was relevant and that its probative value was not outweighed by the Fed. R. Evid.

403 considerations. Id.

        A similar analysis was also recently completed by the Wyoming Supreme Court in Roberts

v. Roberts, 523 P.3d 894 (Wyo. 2023). The plaintiff in this case was the father and father-in-law

to the defendants. Defendants invited plaintiff to their house to watch fireworks. During his visit,

plaintiff went to the back porch and stepped off the edge – which caused him to fall and suffer

personal injuries. Id. at 896. Plaintiff filed a motion to exclude any evidence of his alcohol

consumption prior to the accident. The trial court, however, admitted evidence of plaintiff’s

alcohol consumption, but barred testimony as to whether plaintiff was legally intoxicated. Id.

        The Roberts court noted that there were two competing theories as to how the accident

occurred – did plaintiff stumble off the deck or did he step off the deck into a hole that caused him

to fall. Id. at 899. In Roberts, plaintiff’s alcohol consumption, such as how many beers he drank,

was relevant and admissible. Id. at 900. It would then be the jury’s duty to weigh the facts related

to plaintiff’s alcohol consumption and apply that to the other evidence presented. Id. The Roberts

court also rejected plaintiff’s argument that the probative value of his alcohol consumption was

substantially outweighed by potential unfair prejudice. Id.

        Here, Mrs. Wadsworth admitted that she consumed “ten or so” alcoholic drinks during the

night and early morning hours before the fire. She also admitted to smoking in the smoking shed

a couple of hours prior to the fire. Her alcohol use is highly relevant to her recollection of activities

and whether she could have carelessly or improperly disposed of her cigarette that night.



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Moreover, the probative value is not substantially outweighed by any of the Fed. R. Evid. 403

considerations.

          Like the Boyer and Roberts courts, this Court should similarly deny Plaintiff’s motion in

limine.

IV.       RESPONSE TO PLAINTIFFS’ MIL #4: The Electrical Service to the House was
          Severed in the Fire.

          Plaintiffs again cite to a case – Wyoming v. U.S. Dept. of Energy, 2006 WL 3801910 (D.

Wyo. 2006) – in support of this motion that is not identifiable on Westlaw or the other legal search

engines Defendants consulted.

          Nonetheless, Plaintiffs contend that Defendants should be precluded from arguing that the

Wadsworth home “was ‘de-energized’ at the time of the incident.” As an initial matter, it is unclear

exactly what type of ruling Plaintiffs seek with this motion. Defendants agree that the home was

energized when the fire started. The home only became “de-energized” after the electrical service

triplex was severed by the fire. When the service triplex was severed, then the home had no way

to obtain electrical power and became “de-energized.”

           Plaintiffs further argue, without much explanation, that “Defendants’ experts failed to

fully test and examine electrical circuits throughout the entire house, choosing only to rely upon

the Bedroom #4 circuit to conclude that the entire house was de-energized.” This is not true,

Strandjord did fully inspect the home’s electrical system.

          Strandjord inspected the home’s main electrical panel and the electrical subpanel – which

distribute electricity through the whole house. (Doc. 80-10, pg. 7-14). He also inspected the

electrical service triplex, which was severed in fire. (Id.). Plaintiffs do not dispute that the electrical

service triplex was severed at some point in the fire – nor can they.




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        Strandjord also reviewed and analyzed the branch circuit conductors in bedroom 4 (G.W.

and L.W.’s bedroom) and outside bedroom 4 where the smoking shed was located to evaluate the

only two potential areas of origin identified by the various fire investigators. (LaFlamme Dec. ¶7,

Ex. 5: Strandjord Dep. 52:7-54:25). Electrical arcing was identified in the smoking shed, indicating

that fire was present in the shed before the electrical service triplex was severed. (LaFlamme Dec.

¶7, Ex. 5: Strandjord Dep. 52:17-54:25). Specifically, when the service triplex (located above the

smoking shed) melted and severed, there was no longer any electrical energy in the home and there

was no possibility of electrical arcing on conductors within the home. (LaFlamme Dec. ¶7, Ex. 5:

Strandjord Dep. 52:7-54:25; 56:12-25; 72:16-73:18). Therefore, for there to be evidence of

electrical arcing in the smoking shed, it had to have occurred prior to the time that the service

triplex was severed as arcing does not occur on non-energized lines. (LaFlamme Dec. ¶7, Ex. 5:

Strandjord Dep. 52:7-54:25; 71:1-12; 75:7-13). Similarly, the fact that no electrical arcing was

found in bedroom 4 along with the absence of any tripped circuit breakers is consistent with a

conclusion that the home was “de-energized” when the fire entered the home from the smoking

shed. (Id.).

        Plaintiffs seem to suggest that Strandjord should have pulled all the electrical wiring from

the entire house to inspect it further in a lab. To the extent this is what Plaintiffs suggest, that is

absurd. Strandjord preserved all the electrical wiring from the two potential areas of origin and

examined this wiring further in a lab setting. It is not necessary to preserve the electrical wiring

from other areas of the house that have been excluded as a potential area of origin – especially

when none of the circuit breakers tripped. Of course, Plaintiffs cite to no authority (fictitious or

otherwise) to support such a ridiculous notion. Moreover, Plaintiffs had their own electrical

engineering expert at the site inspection. Even though Plaintiffs ultimately decided not to name



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this electrical engineer as an expert in this case, Plaintiffs had every opportunity to preserve further

electrical wiring from other rooms in the house had they felt it was necessary.

       In short, Strandjord’s knowledge, skill, training, education and experience with regard to

electrical theory, electrical systems, NFPA 921, arc surveys, and arc mapping, allowed him to

determine that there was no electrical power to the home after the service triplex melted and,

therefore, no electrical energy in any of the home’s branch circuits. This is consistent with the lack

of arc evidence within bedroom 4 and the lack of any tripped electrical breakers for the house.

       While Plaintiffs obviously do not like the opinion that the home was “de-energized” when

the fire entered the home from the smoking shed, there is ample evidentiary support for such a

conclusion. Plaintiffs, of course, are free to cross-examine the defense experts on this issue, but

this does not mean that the opinions are inadmissible. This is a matter for the jury to decide.

Defendants further rely on and incorporate herein Defendants’ responses to Plaintiffs’ Rule 702

Daubert motions filed against Strandjord and Filas. (Doc. 116 and 117).

       Given the above, this Court should deny this motion in limine.

V.     RESPONSE TO PLAINTIFFS’ MIL #5: This Motion is not Opposed.

       Defendants do not object to this motion in limine and agree that Defendants’ economist

will use the $80 figure for any “The Dollar Value of a Day” testimony.

VI.    RESPONSE TO PLAINTIFFS’ MIL #6: The Expert Opinions and Testimony
       Offered by Defense Experts Filas, Strandjord and Gorbett are not Cumulative or
       Duplicative.

       Once again, Plaintiffs cite to a case – States v. Hargrove, 2019 WL 2516279 (D. Wyo.

2019) – in support of this motion that cannot be found on Westlaw or the other legal search engines

Defendants consulted. While there is a 2019 case United States v. Hargrove from the Tenth Circuit,

it was an appeal from the United States District Court for the District of New Mexico. See United


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States v. Hargrove, 911 F.3d 1306, 1309 (10th Cir. 2019). Even that Tenth Circuit case, however,

does not discuss the issue of any potential cumulative or duplicative expert testimony as Plaintiffs

suggest in this motion.

         With respect to the substance of Plaintiffs’ motion, Gorbett is a computational fluid

dynamics modeling expert, Strandjord is an electrical engineer and Filas is a fire origin and cause

investigator. Gorbett conducted computer model simulations to assess the competing origin

hypotheses based on fire development, fire spread and occupant exposure/tenability issues.

Strandjord is an electrical engineer that assessed the home’s electrical system and identified areas

where electrical arcing occurred. Filas is a fire origin and cause expert. There is no duplication in

the Defendants’ proffered expert testimony or disciplines.

         While Gorbett and Strandjord’s opinions are building blocks for Filas’ opinion – none of

the three opinions are in any way duplicative. Plaintiffs could have, but did not, identify any

experts to discuss fire modeling and fire dynamics engineering like Gorbett. Plaintiffs also could

have, but did not, have an electrical engineer assess the home’s electrical system and identify areas

where electrical activity occurred.3 Defendants should not be punished because Plaintiffs did not

work-up their case.

         Further, to the extent there is any duplication – which there is not – U.S.D.C.L.R. 26.1(e)(1)

specifically acknowledges that complex cases may require multiple expert witnesses with

“specialized areas of expertise within a larger general field.” In United States v. Hamilton, 2014

WL 12814334, No. 10-CV-231-J (D. Wyo. Mar. 10, 2014), this district court had to decide expert

challenges in a Clean Water Act case. The two experts at issue had testimony in “similar areas of



3
 Plaintiffs did have an electrical engineer at the August 2-3, 2022 site inspections (Daren Slee from ESi) and a different
electrical engineer at the October 30, 2023 evidence inspection (Scott Cramer from EDT), but neither of these
electrical engineers were included in Plaintiffs’ expert disclosures.

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expertise, [but] not identical” and focused on similar topics, but with some “significant areas of

difference.” Id. at *6. In the Hamilton case, Judge Rankin ruled that in such a situation, the trial

judge should determine if there is duplicative testimony during trial. Id.

         Like a Clean Water Act case, fire cases are similarly complex. The fact that NFPA 921 is

an approximate 500-page guide with numerous topics exemplifies the complex nature of fire

investigations. Therefore, to the extent Gorbett, Strandjord and Filas may address some similar

topics, they do so with significant areas of difference. Further, Defendants do not intend to offer

any duplicative expert testimony at trial.

         Moreover, if Defendants did not have Gorbett and Strandjord assess the competing origin

theories through their respective fire dynamics/modeling and electrical engineering disciplines,

then Plaintiffs would undoubtedly criticize Defendants for not modeling the fire or assessing the

home’s electrical system with an electrical engineer. Defendants further adopt by reference the

arguments and authorities raised in the Rule 702 Daubert response briefs (Docs. 115, 116, and

117).

         As a result, this Court should deny this motion limine.

VII.     RESPONSE TO PLAINTIFFS’ MIL #7: Plaintiffs’ Prior Rule 702 Daubert Motions
         Should be Denied.

         This motion in limine simply adopts by reference Plaintiffs’ prior Rule 702 Daubert

motions. For the reasons stated in Defendants’ Rule 702 Daubert response briefs (Docs. 115, 116,

and 117), this motion in limine should be similarly denied.

VIII. RESPONSE TO PLAINTIFFS’ MIL #8: The UL Listings Applicable to the Plasma
      Hoverboard and its Components are Relevant and Admissible.

         As with every other motion in limine filed where a case was cited, Plaintiffs again cite

cases – Woods v. BNSF Railway Co., 2016 WL 165971 (D. Wyo. 2016) and Fitzgerald v. City of



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New York, 2018 WL 3037217 (S.D.N.Y. 2018) – in support of this motion that could not be located

on Westlaw or the other legal search engines Defendants consulted.

       Despite the lack of proper case law cited in this motion, it is unclear exactly what type of

ruling Plaintiffs seek. Moreover, Plaintiffs do not give any examples of the type of questions

defense counsel has supposedly asked that suggest a UL listing “is essentially a certification that

their product is safe and cannot cause injury or malfunction.” Certainly, the fact that the

hoverboard and its components were UL listed is relevant and admissible. The type of testing that

is required to obtain the UL listing is also admissible as it is relevant to the product liability and

negligence claims. If Plaintiffs merely seek a ruling that Defendants should be precluded from

arguing that a UL listing makes it impossible that UL listed products could have a product failure

in one form or another, then Defendants do not anticipate making such an argument.

                                          CONCLUSION

       Based on the above, Plaintiffs’ Motions in Limine, and each of them, should be denied.

                                               McCOY LEAVITT LASKEY LLC

                                               Attorneys for Defendants, Jetson Electric Bikes,
                                               LLC and Walmart Inc.



Dated: January 29, 2025                        By:
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